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                                                FAX • 08/26/20 Page 1 of 39 Page ID #:182

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                                                SU IYI IYIO NS                                                                FOR COURT USE ONLY
                                                                                                                          (SOLO   R USO DE LA CORTE)
                                         (ClTAClON JUDICIAL)                                                               ~ r ~q
                                                                                                                        SUPf;f~IOR
NOTICE TO DEFENDANT:
                                                                                                                       NTY
                                                                                                                    C~ N ERNARbINb .Rnt~Tp CT
(AVISO AL DEMANDADO):
MEDICAL DEPOT, INC. d/b/a DRIVE MEDICAL DESIGN & MANUFACTURING, a corporate entity                                           MAY 2 92020
form unknown: DEVILBISS HEALTHCARE, LLC, a corporate entity form unknown; and DOES
                                                                        1-50, inclusiveQ
YOU ARE BEING SUED BY PLAINTIFF:
(LO EST,4 DEMANDANDO EL DEMANDANTE):
                                                                                                                     nRl ~Ng Au RBAgg
                                                                                                                                                 I GEPdjI
JENNIFER BELTRAN, an indivjdual;
                                                 may ryecioe agatnst you wltnout your being nearo umess you
 UCIUYV.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to flle a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you, can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 !AV1S0! Lo han demandado. Si no responde dentro de 30 d!as, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
 continuaci6n.
    rene 30 DIAS DE CALENDARIO despuCs de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Urla carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal con-ecto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos fonnularios de la corte y mis informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mds cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
 le d6 un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrd
 quitar su sueldo, dinero y bienes sin m8s advertencia.
    Hay otros requisitos legales. Es recomendable que llame a un, abogado inmediatamente. Si no conoce a un abogado, puede liamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener servicios legales gratuitos de un
 programa de senriclos legales sin Tnes de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poni6ndose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecbo a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquierrecuperaci6n de $90,000,6 m$s de valorrecibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte ante's de que la corte pueda desechar el caso.
The name and address of the court is:                                                                I CASE NUMBER: (Numero del Caso):
(EI nombre y direcci6n de la corte es): SAN BERNARDINO JUSTICE CENTER
247 West 3rd St,
San Bernardino, CA 92415
The name, address, and telephone number of plaintifPs attorney, or plaintiff without an attorney, is:             (EI nombre, la direcci6n y el ntimero
de telefono del abogado del demandante. o o'el demandante que no tfene abogado, es):
Jihad M. Smaili (SBN 262219); Smaili & Associates, PC; 600 West Santa Ana Blvd. 9202, Santa Ana, CA 92701; 714 5474700
DATE:                            _   n                                                    Clerk, by       ARLEyE G~p~~
(Fecha)                              V   "~ ~ ~                                           (Secretario)                                             (Adjunto) _
(For proof of service of this summons, use Proof of Service of Summons (form POS-090).)
(Para prueba de entrega de esta citatldn use el formu(ario Proof of Service of Summons, (POS-090).)
                                           NOTICE TO THE PERSON SERVED: You are served
                                           1. = as an individual defendant.
                                          '2.   = as the pers'on stted under the fictitious name of (specify):

                                           3.   M on behalf of (specify): DEViLBISS HEALTHCARE, LLC, a corporate entity form unknown

                                                under: = CCP 416.10 (corporation)                             0 CCP 416.60 (minor)
                                                       ~ CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                       ~] CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                       ® other (specify): a corporate entity form unknown
                                          1 4. = by personal delivery on (date)                                                                        Paae 1 of 1

Form Adopled for Mandalory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
                                                                     t   SUMMONS                                                                 www.couRs.ca.gov
Judicial Council of Califomia
SUM-100 [Rev. July 1, 20091                                                                           r~j Y

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                                                          BY FAX



                            I

          Jihad M. Smaili, Esq. [262219]                                        COUN~SyU ~R QR C D T
      1                                                                              B pB SAN B,ERNARDINO
          SMAILI & ASSOCIATES, PC                                                SAN RRNARDINO DIS7RfCT
      2   Civic Center Plaza Towers
          600 W. Santa Ana Blvd., 'Suite 202                                         MAy' 2 9 2020
      3   Santa Ana, California 92701
          714-547-4700                                                          AFtt.~N~~'~
      4                                                                                Mn_
          714-547-4710 (facsimile)                                                                    ~PUry'y
      5   iihada.smaililaw.com

      6   Attorneys for Plaintiff
      7

      8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
      9                               FOR TH1J COUNTY OF SAN BERNARDINO
     10                                                                C,V DS 2 01 1 58 1
          JENNIFER BELTRAN, an                      ) Case No.:
     11   individual;                               ) Assigned for all purposes to the
                                                    )
~.   12                  Plaintiff,                 )
~ 13                                                ) COMPLAINT:
                 V.                                 )'   1. Discriniination in Violation of Gov. Code
                                                    )              § 12940 et seq.
          MEDICAL DEPOT, INC.                 )             2. Failure to Accommodate in Violation of Gov.
          d/b/a DRIVE MEDICAL DESIGN & )                       Code § 12940(m)
          MANUFACTURING, a corporate entity )               3. Failure to Engage in Interactive Process in
          form unknown; DEVILBISS             )                Violation of Gov. Code § 12940(n)
          HEALTHCARE, LLC, a corporate        )°            4. Failure to Prevent Discrimination in
          entity form unknown; and DOES 1-50, )                Violation of Gov. Code § 12940(k)
     18
          inclusive,                        ')              5. Hostile Work Environment Harassment in
     19                                       )                Violation of Gov. Code § 129400)
                        Defendants.           )             6. Negligent Hiring, Supervision, Or Retention
     20                                       )             7. Negligent Infliction of Emotional Distress
                                              )             8. Intentional Infliction of Emotional Distress
     21
                                              )             9. Sexual Harassment In Violation of California
     22                                       )                Governinent Code § 12940(j)
                                              )             10.Retaliation in Violation of Gov. Code
     23                                             )           § 12940(h)
                                                    )       11.Wrongful Termination
     24
                                                    )       12.Failure To Provide Employment Records
     25                                             )       13.Meal and Rest Break Violations
                                                    )'      14.Violation of Business & Professions Code
     26                                             )        _ § 17200 et seg.
     27                                                              DEMAND FOR JURY TRIAL
                                                                     UNLIMITED JURISDICTION
     28                                         ,

                                                        COMPLAINT
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      1   Plaintiff Jennifer Beltran (hereinafter "Plaintiff' and/or "Beltran") alleges as follows:
     2                                           , THE PARTIES
     3           1.     At all times mentioned herein, and at the time the causes of action arose,
     4    Plaintiff was and is an~;individual.
      5          2.     Plaintiff is informed and believes and thereon alleges that at all times
      6   mentioned herein, Defendant Medical Depot, Inc. d/b/a Drive Medical Design & I
      7   Manufacturing ("DMD"), is a corporate entity, form unknown, regularly conducting I
      8   business in the State of California, and specifically, in the County of San Bernardino.
      9   Plaintiff is further informed and believes and thereon alleges that DMD was transacting
     10   business in the County of San Bernardino, State of California, at the time claims of ,
     11   Plaintiff arose. At all times relevant, DMD was an employer within the meaning of
     12   Government Code § 12926(d) and as such was barred from, inter alia, harassing,
~
~    13   discriminating or retaliating against ,,Plaintiff in personnel, scheduling, employment,
'm
.~
.~   14   promotion, advaneement, retentior}, hiring, terminating and other decisions relating to
 o
mm
     15   Plaintiff's employment on the basis of age, race, physical disability or medical condition,

~ 16      participation in protect, ed activity, and other immutable characteristics.
~
~                3.      Plaintiff is informed and believes and thereon alleges that at all times
  17
     18   mentioned herein, Defendant Devilbiss Healthcare, LLC ("Devilbiss"), is a corporate
     19   entity, form unknown, regularly conducting business in the State of California, and
     20   specifically, in the County of San ~Bernardino. Plaintiff is further informed and believes

     21   and thereon alleges that Devilbiss was transacting business in the County of San
     22   Bernardino, State of California, at the time , claims of Plaintiff arose. At all times
     23   relevant, Devilbiss was an employer within the meaning of Government Code § 12926(d)
     24   and as such was barred from, inter dlia, harassing, discriminating or retaliating against
     25   Plaintiff in personnel, scheduling, employment, promotion, advancement, retention,
     26   hiring, terminating and other decisions relating to Plaintiff's employment on the basis of

     27   age, race, physical disability or medical condition, participation in protected activity, and

     28   other immutable characteristics.
                                 ,

                                                    COMPLAINT

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    1          4.     T`he true names and capacities, whether individual, corporate, associate, or
    2 otherwise, of Defendants DOES 1-50, inclusive, are currently unknown to Plaintiff,
    3    who therefore sues said Defendants by such fictitious names. Plaintiff will seek leave to
     4   amend this complaint to show their true names and capacities when ascertained. Plaintiff
     5   is informed and believes and thereon alleges that each Defendant named herein as a DOE
     6   was responsible in some manner for the occurrences and damages alleged herein.
     7         5.     Each reference in this complaint to "Defendant" and/or "Defendants" refers
     8   to DMD, Devilbiss, and also refers to' all Defendants sued under fictitious names, jointly
                                            ,
     9   and severally.
    10          6.    Plaintiff is informed and believes and thereon alleges that Defendants, and
    11 each of them, are now and/or at all times mentioned in this Complaint were in some
    12 manner legally respori'sible for the events, happenings and circumstances alleged in this
~
~   13 Complaint. Plaintiff is further informed and believes and thereon alleges that
    14   Defendants, and each of them, proximately subjected Plaintiff to the unlawful practices,
    15 wrongs, complaints, injuries and/or damages alleged in this Complaint. Likewise,
    16   Defendants, and each of them are, now and/or at all times mentioned in this Complaint
~   17   were the agents, servants and/or exnployees of some or all other Defendants, and vice-
    1g   versa, and in doing the things alleged in this Complaint, Defendants are now and/or at all
    19 times mentioned in this Complaint were acting within the course and scope of that
    20   agency, servitude and/or employment.'
                                             ,
    21          7.     Plaintiff is informed and believes and thereon alleges that Defendants, and

    22   each of them, are ~now and/or at all times mentioned in this Complaint were members of
    23   and/or engaged in a joint venture, partnership and common enterprise, and were acting
    24   within the course and; scope of, and in pursuance of said joint venture, partnership and
    25   common enterprise.
    26          8.     Plaintiff is informed and believes and thereon alleges that Defendants, and
    27   each of them, at all times mentioned in this Complaint, concurred and contributed to the
    28   various acts and, omissions of each and every one of the other Defendants in proximately
                                                 ,
                                                 ,COMPLAINT

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       1    causing the complaints, injures and/or damages alleged in this Complaint. Plaintiff is
       2    further informed and believes and thereon alleges that Defendants, and each of them, at
       3    all times mentioned in this Complaint, approved of condoned and/or otherwise ratified
       4    each and every one of the acts and/or omissions alleged in this Complaint. Likewise,
        5
            Defendants, and each of them, at all times mentioned in this Complaint aided and abetted
        6
            the acts and omissions of each and 6very one of the other Defendants thereby proximately '
       7
            causing the damages alleged in this Complaint.
                                   I;

       8
                   9.     Plaintiff
                           I
                                    " is informed and believes and thereon alleges that at all actions
        9
            alleged herein committed by Defendants were committed by managing agents of
       10
            Defendants, or, such conduct was known by andJor ratified by managing agents of
       11
            Defendants.
       12                                     '
                                        VENUE AND JURISDICTION
~      13
                   10.    Venue is proper in this - county and this Court has jurisdiction over this
       14
            matter because Defendants operate out of Rialto, California, and, all of the claims and
       15
            causes of action alleged herein occurred and accrued in the County of San Bernardino,
       16
IPLI
            State of California.
       17
                                         FACTUAL BACKGROUND
       18
                   11.    On or about May 11, 2017, Defendant hired Plaintiff as a forklift driver.
       19
            Plaintiff's job duties included, but were not limited to, loading pallets for wrapping.
       20
            Plaintiff earned an hourly wage of $11.50.
       21
                   12.    In or around June 2017, Plaintiff's supervisor, John Planzkis ("Planzkis"),
       22
            began regularly sexually harassing Plaintiff. For example, on or about June 18, 2017,
       23
            Planzkis stared at Plaintiff as she bent down to clean. Plaintiff became uncomfortable and
       24
            scared when she realized he was stari,ng at her. Defendant's agent, Planzkis, then told
       25
            Plaintiff to "come, over to [his] house and clean it." Defendant's agent, Planzkis, also
       26
            repeatedly asked Plaintiff out on dates. Plaintiff always rejected and declined the
       27
            unwanted advances by Planzkis
       28

                                                   "COMPLAINT

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    1         13.     Soon thereafter, Plaintiff complained to Defendant's Human Resources
    2("HR") representative, Hernan Ponce ("Ponce") about the sexual harassment from
    3   Planzkis. Ponce dismissed Plaintiff s fears and concerns by responding, "that's just the
    4   way they are here." Defendant failed to prevent the sexual harassment of Plaintiff.
    5          14.    I;ater, Ponce disclosed Plaintiff's complaint to Planzkis. Planzkis retaliated
    6   against Plaintiff by making offensive comments and intimidating statements to Plaintiff.
    7          15. In or around June 2017, Plaintiff complained to Michele Renner
    8("Renner"), Defendant's agent, about further harassment from her coworkers. Plaintiff's
    9 coworkers made negative comrraent's about Plaintiff's weight and backside. Her
   10   coworkers would " also yell, "Boloncha" at her from across Defendant's warehouse.
   11 Defendant's agents would also write out insults on her lunch pail and work supplies.
   12 Boloncha is a round candy and its reference was being used to disparage and humiliate
~i
~ 13 Plaintiff. In response to Plaintiff complaints, Renner stated that Defendant's employees
   14 are "just like that.", Upon information and belief, Defendant failed to prevent the
   15   harassment of Plaintiff.
   16         16. When Plaintiff again complained about this repeated abuse, Renner yelled
                             ;
   17 at Plaintiff, "You fucking complain too much. Why don't you just shut the hell up?"
   18 Renner also threatened to terminate Plaintiff. Defendant's response and the persistent
   19 abuse at work caused Plaintiff severe stress. Plaintiff suffered crying episodes due to
   20   work-related stress from the hostile, work environment she endured.
                         ~
   21         17. In or around July q017, Renner disclosed Plaintiff s complaints about

   22   Planzkis to him. Iri response, Planzkis threatened Plaintiff, "If you don't keep your mouth
   23   shut, we'11 fire you." Plaintiff was required to work in a hostile work-environment that
   24   was authorized and condoned by Defendant.
   25          18. In or around January 2018, Raul LNU ("Raul") began helping Plaintiff lift

   26   heavy boxes at work~
                        ,    Raul followed
                                        ~ up his help with demands to take Plaintiff out on a
   27   date. This occurred repeatedly and Plaintiff repeatedly declined his advances.
   28          19. On or about January 3, 2018, Plaintiff complained to Ponce that Raul was

                                                COMPLAINT

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        1   scaring her. Plaintiff explained further that Raul was acting like he was going to run her
        2   over with his car. Defendant failed to take any action to remedy the hostile work
        3   environment that Plaintiff suffered. Upon information and belief, Plaintiff was required to
        4   work in a hostile work-environment that was condoned by Defendant.
        5          20.        On or about February 1,' 2018, Raul ran his forklift into Plaintiff's forklift
        6   causing Plaintiff to suffer a work-related injury. Plaintiff suffered injuries to her neck,
        7   shoulders, and back. Plaintiff did not immediately report the injury for fear of
        8   Defendant's threats.
        9          21.        On or about February 5, 2018, Plaintiff reported the accident to Renner and
       10   informed her that she, was suffering+ from back pain. Renner instructed Plaintiff to inform
       11   Rudy LNU ("Rudy") and Plaintiff did so. In response, Rudy cursed at Plaintiff. Plaintiff
       12   vcwas eventually sent her to US Healthworks and returned back to work on the same day.
~                                     11


~
       13   However, Plaiiitiff could not bear the pain long enough to continue her shift. Plaintiff
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d
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.o          informed Defendant's agent(s), "I am not okay to continue working today. I am in too
       14
m~
m      15   much pain." Plaintiff left work early.
       16          22.        On or about February 6, 2018, Plaintiff went to US Healthworks again and
                                ~
11T. 17     was given work restrictions, incli}ding, "office work only." Plaintiff experienced pain
       18   from performing seated work for' long periods of time. Plaintiff complained to Rudy
       19   about the pain she experienced from sitting, but Defendant's agent told her that she had
       20   no choice and must sit all day. Deferidant failed to accommodate Plaintiff and failed to
       21   engage Plaintiff in a good faith interactive process.
       22          23.        Plaii~tiff
                                  ,      was regularly
                                                   ~   harassed due to her disability and resulting work-
       23   restrictions. On one such occasion, Renner passed by Plaintiff while she was doing seated
       24   work and said, "I wish I could sit on my fucking ass all day." Defendant failed to take
       25   any action to romedy the hostile work environment that Plaintiff suffered on the basis of
       26   her disability.
       27          24.        In or around March 2018, Plaintiff complained to Ponce about back pain

       28   she was experiencing from the long periods of time seated work that she was performing.
                                ~

                                                   ;I COMPLAINT

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                            ~                 ,
       1   Plaintiff requested time to walk arqund the warehouse to ease her pain. Ponce laughed at
                                                          ,
       2   her. Defendant's agent failed to take any further action to engage Plaintiff in a good faith
       3   interactive process and failed to accommodate her.
       4          25. In or around March 20i8, Plaintiff repeatedly complained to Defendant's
       5 agent(s) about the pain she was experiencing from being forced to sit all day and not
       6   being permitted to, take breaks to walk. Defendant repeatedly failed to engage Plaintiff in
       7   a good faith interactive process and,repeatedly failed to accommodate her. Plaintiff's pain
       8   and symptoms were exacerbated as a result.
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       9          26.    Iii or around March 2018, Plaintiff hired a workers' compensation attorney.
      10          27. In or around late March 2018, Defendant's agent finally approved Plaintiff
      11   for one week of inedical leave. Plaintiff exercised this one week medical leave. Upon her
      12 return to work from her medical leave, on or about April 5, 2018, Plaintiff was
~                           ~                 -
~     13 terminated. Defendant's reason fqr termination was because Plaintiff had taken the
 d
~
.~    14   previous week off.' Plaintiff is informed and believes that she was terminated, in part, in
 0
 _M
m          retaliation for exercising her rights to take medical leave.
      15
~
      16          28. Further, throughout Plaintiff's employment, she was not provided 30-
      17   minute uninterrupted meal breaks for every five (5) hours worked.
      18          29. Upon information and belief, Plaintiff suffered discrimination, harassment,
      19 retaliation, and ultimately termioation due to her disability, work-related injury,
      20 perceived filing/filing4or workers' compensation, reporting harassment, and requesting
      21 an accommodation. Further, Defendant refused to engage in a good-faith interactive
      22   process and refused to offer any accommodation.
      23          30.    Before filing this lawsuit, Plaintiff exhausted her administrative remedies
      24 by timely filing a complaint with the Department of Fair Employment and Housing
      25   ~FEH)and receiving
                            a ri g
                                 ht-to-sue~ notice, dated Apri15, 2019.
      26
      27
      28
                                                      ,
                                                          °COMPLAINT
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                                                  ,,

       1                                  FIRST CAUSE OF ACTION
      2                       ,    DISCRIMINATION
                                            ~     IN VIOLATION OF
       3                  CALIFORNIA GOVERNMENT CODE § 12940 ET SEQ.
       4                        ;     (Against All Defendants)
                                   ,

       5          31.     PYaintiff refers to all allegations contained in paragraphs 1-30, inclusive and
       6   by such reference incorporates the same herein as though fully realleged in detail.
       7          32.     California law, and particularly the Fair Employment and Housing Act
       8   ("FEHA"), codified at Government Code § 12900 et seq., prohibits discrimination against I
       9   persons with a physical condition,, or ~ disability, which is broadly defined therein, and
      10   which includes even the perception that a person has a medical or mental condition '
      11   and/or physical condition or disability. FEHA further prohibits discrimination based
      12   upon, inter alia, age, race, gender, 'sexual orientation, national origin, pregnancy and
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                                                  ti
~     13   other immutable characteristics.
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 d
.~    14          33.     Plaintiff is has a disability as alleged above.
 o                            ,                   ~
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iol   15          34.     Defendant was aware of Plaintiff's disability, as herein alleged, because
~
.~    16   Plaintiff specifically reported said disability directly to Defendant via Defendant's
~
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      17   supervisors and managing agents.
      18          35.     At all times herein alleged, Plaintiff was qualified for the position of
      19   employment that she held with Defendant and was able to perform the essential functions
      20   of that job.                                                                                ,
      21          36.     Plaintiff is informed and believes and thereon alleges that as a direct and
      22   proximate result of Plaintiff's disability, Defendant refused to engage Plaintiff in an
      23   interactive process, refused to communicate with Plaintiff, refused to accommodate
      24   Plaintiff's medical restrictions, denied Plaintiff opportunity for advancement, promotion
      25   and the ability to eam a living, and terminated Plaintiff.
      26          37.     Def4nd~n
                              ,
                                  t's diinatory
                                        scrim ~ action against Plaintiff, as alleged above,
      27   constitutes unlawful discrimination, in employment on account of Plaintiff's disability in

      28   violation of FEHA, and particularly Gov't Code § 12940(a).
                                1
                                                       COMPLAINT

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       1           3 8. As a direct, foreseeable, and proximate result of Defendant's discriminatory
       2    action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
       3    suffered the loss of wages, salary, benefits, the potential for advancement, and additional
       4 amounts of money Plaintiff would have received but for Defendants' discriminatory
                             ~

       5    conduct, all in an amount subject ~,o proof at the time of trial, but believed to be no less
       6    than three hundred' thousand dollars. '
        7          39. As a direct, foreseeable, and proximate result of the wrongful conduct of
        8   Defendant as herein alleged, Plaintifflas also suffered and continues to suffer emotional
        9   distress and anguish, humiliation, arixiety, and medical expenses all to her damage in an
       10   amount subject to'proof at trial.
                                                      ~

       11          40.    Plaintiff is informed and believes and thereon alleges that the above-alleged
       12   actions of Defendant were the result and consequence of Defendant's failure to supervise,
~                                             ,
~       control, direct, ~ manage, and counsel those agents throughout Plaintiff's employment and
md 13
~.
~u 14 that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
 ~
 O
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tA
       15   enabled agents to believe that their conduct was appropriate.
,..~
       16          41. Defendant, and each of them, failed to offer counseling or comfort to
       17 Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                              1
       18 workplace.            '              '
       19          42. Plaintiff is informed and believes and thereon alleges that Defendant has a
       20 systemic and wide-spread policy 6f discriminating against and retaliating against
       21 employees with disabilities. By iailing to stop the discrimination, harassment and
       22 retaliation, Defenoan,t
                              ,
                                  ratified the discriminatory
                                                ~
                                                              and retaliatory conduct which, in turn,
       23   directly caused a vicious cycle of wrongful conduct with impunity.
       24           43. Plaintiff is informed and believes and thereon alleges that her disability was
       25   a motivating factor in the decision of Defendant to discriminate against her and terminate
       26 her.
       27        44. The outrageous conduct of Defendant, and each of them, as alleged herein,
       28 was done with oppression and malice by Defendant and its supervisors and managers,
                                          ~
                                 ~                -
                                                          COMPLAINT
                                                          ,

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    1    along with conscious disregard of Plaintiff's rights, and were ratified by those other
    2    individuals who were managing agents' of Defendant.
    3           45.    The conduct of Defendant as alleged hereinabove was done with malice,
    4    fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
    5    As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
     6          46.    Plaintiff
                           ,     also continues
                                            ~   to incur attorneys' fees and legal expenses in an
     7   amount according to proof at the ome of trial which fees and expenses are recoverable
     8   pursuant to Gov't Code1 § 12900 et seq.
     9                                 SECOND CAUSE OF ACTION
    10          FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF
    11                     CALIFORNIA GOVERNMENT CODE § 12940(m)
    12                                     (Against All Defendants)
~
~   13          47.     Plaintiff refers to all allegations contained in paragraphs 1-46, inclusive and
    14   by such reference i'ncorporates the 'same herein as though fully realleged in detail.
    15          48.     Plaintiff has a disability as alleged above.
    16          49.     Defendant was aware of Plaintiff s disability, as alleged above and herein.
    17          50.     Defendant failed and r'efused to accommodate Plaintiff's needs, and, failed
    18   and refused to erlgage
                          ,
                                in an interactive
                                           ~
                                                  process with Plaintiff, and, failed to address

    19   Plaintiff's needs in light of her disabilities.
    20          51.     At all times herein alleged, Plaintiff was qualified for the position of

    21   employment that she held with Defendant and was able to perform the essential functions
    22   of that job if such reasonable accommodation had been made by Defendant. At no time

    23   would the performance of the functions of the employment position, with a reasonable

    24   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
                                            ~
    25   person's health or safety, nor would it have created an undue hardship to the operation of

    26   Defendant's busin6ss.
    27          52.     Defendant's failure to accommodate Plaintiff, as alleged above, constitutes

    28   unlawful conduct in employment in ,, violation of FEHA, and particularly Gov't Code

                                                    ZOMPLAINT

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     1    §12940.
     2             53.   As a, direct, foreseeable~
                                               ~    and proximate result of Defendant's wrongful
     3    conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
     4    suffered the loss of wages, salary, benefits, the potential for advancement, and additional
     5    amounts of money Plaintiff would have received but for Defendant's wrongful conduct,
     6    in an amount of at least three hundred thousand dollars, all subject to proof at the time of
     7    trial.
      8            54.   As a direct, foreseeable, and proximate result of the wrongful conduct of
      9   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
     10   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
     11   amount subject to proof'at trial.
     12            55. . Plaintiff is informed and believes and thereon alleges that the above-alleged
~i
~    13   actions of Defendant were the result''and consequence of Defendant's failure to supervise,
     14   control, direct, mdnage, and counsel those agents throughout Plaintiff's employment and
                            ,               +
     15   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
     16   enabled agents to believe that their conduct was appropriate.
                                1
     17         56. Defendant, and each of them, failed to offer counseling or comfort to
     18   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
     19   workplace.
     20            57.Plaintiff is informed and believes and thereon alleges that Defendant has a
                                           ,
     21   systemic and wide-spread policy of discriminating against and retaliating against

     22   employees with disabilities. By failing to stop the discrimination, harassment and

     23   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
     24   directly caused a vicious cycle of wrongful conduct with impunity.
     25            58.    Plaintiff is informed 'and believes and thereon alleges that Defendant's

     26   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
                                               I
     27   Defendant to discriminate against her and ultimately terminate her.

     28            59.    The outxageous conduct of Defendant, and each of them, as alleged herein,

                                                   COMPLAINT

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                                   ;

    1 was done with oppression and malice by Defendant and its supervisors and managers,
    2 along with conscious disregard of Plaintiff's rights, and were ratified by those other
     3   individuals who were managing agents of Defendant.
     4          60. The conduct of Defendant as alleged hereinabove was done with malice,
     5   fraud, or oppression, and in reckless disregard of Plaintiff's rights under California law.
     6   As such, Plaintiff i's entitled to punitive damages within the meaning of Civ. Code §3294.
     7          61.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
     8   amount according to proof at the tim'e of trial which fees and expenses are recoverable
     9   pursuant to Gov't Code § 12900 et seq.
    10                          THIRD CAUSE OF ACTION
                                    ~
    11             FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS IN
    12           VIOLATION; OF CALIFORNIA GOVERNMENT CODE § 12940(n)
~                                  ,
~
    13                                    (Against All Defendants)
    14          62.    Plaintiff refers to all allegations contained in paragraphs 1-61, inclusive and
    15   by such reference incorporates the same herein as though fully realleged in detail.
    16          63.    Plaintiff has a disability as alleged above.
                                            -
    17          64.    Defendant was aware, of Plaintiff's disability, as alleged above and herein.
    18          65.    Defendant failed and refused to engage Plaintiff in an interactive process
    19   designed to unite Plaintiff with her job.
    20          66.    At all times herein alleged, Plaintiff was qualified for the position of
    21   employment that she held with Deferidant and was able to perform the essential functions
    22   of that job if such, reasonable accommodation had been made by Defendant. At no time
                           ,                    ~

    23   would the performance of the functions of the employment position, with a reasonable
    24 accommodation for Plaintiff's disabilities, have been a danger to Plaintiff s or any other
    25   person's health or safety, nor would it have created an undue hardship to the operation of
    26   Defendant's business.
    27          67.    Defendant's failure to engage with Plaintiff in an interactive process, as
    28   alleged above, constitutes unlawful conduct in employment in violation of FEHA, and
                                         ,
                                                " COMPLAINT

                                                       12
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      1   particularly Gov't Code § 12940.
      2           68.   As d direct, foreseeable, and proximate result of Defendant's wrongful
      3   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
      4   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
      5   amounts of money Plaintiff would liave received but for Defendant's wrongful conduct,
      6   all in an amount iio
                            ,
                               less than three ~hundred thousand dollars, subject to proof at the time
      7   of trial.
      8           69.   As a direct, foreseeable, and proximate result of the wrongful conduct of
      9   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
     10   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
     11   amount subject to proof at trial.
     12           70.   Plaintiff is informed and believes and thereon alleges that the above-alleged
~
~    13   actions of Defendant were the result and consequence of Defendant's failure to supervise,
     14   control, direct, mahage, and counsel
                                            l those agents throughout Plaintiff's employment and
     15   that Defendant ratified; condoned and/or encouraged the discriminatory behavior and
     16   enabled agents to believe that their coziduct was appropriate.
FT
     17           71.   Defendant, and each ', of them, failed to offer counseling or comfort to
     18                         ~ unmistakable message that such conduct is appropriate in the
          Plaintiff and sent, the
     19   workplace.
     20           72.   Plaintiff,;is informed and believes and thereon alleges that Defendant has a
     21   systemic and ; wide-spread policy of discriminating against and retaliating against
     22 I employees with disabilities. By failing to stop the discrimination, harassment and
     23 I retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
     24   directly caused a vicious cycle of wrongful conduct with impunity.
                                             ~
     25           73.   Plaintiff is informed  and believes and thereon alleges that Defendant's
     26   desire to avoid accommodating Plaintiff was a motivating factor in the decision of

     27 I Defendant to discriminate against her and ultimately terminate her.
     28        74. The outrageous conduct, of Defendant, and each of them, as alleged herein,

                                                  „COMPLAINT

                            '                 ~        13
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      1   was done with oppression and malice by Defendant and its supervisors and managers,
      2   along with consc'ious
                          ,
                                disregard of~ Plaintiff's rights, and were ratified by those other
      3   individuals who were managing agents of Defendant.
      4          75.     The conduct of Defendant as alleged hereinabove was done with malice, i
      5   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
      6   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
      7          76.     Plaintiff also continues to incur attorneys' fees and legal expenses in an
      8   amount according to proof at the time of trial which fees and expenses are recoverable
      9   pursuant to Gov't Code § 12900 et seq.
                                             ,
                                                 ,

     10                                FOURTH CAUSE OF ACTION
     11                FAILURE TO PREVENT DISCRIMINATION IN VIOLATION
   12                     OF CALIFORNIA Gr,OVERNMENT CODE § 12940(k)
~
~ 13                                       (Against All Defendants)
~~
~
.o               77.     Plaiiitiff refers to all allegations contained in paragraphs 1-76, inclusive and
   14
 m        by such reference incorporates the same herein as though fully realleged in detail.
9; 15
oe
~ 16             78.    During the course of employment, Defendant, and each of them, failed to
~                              1
~ 17      prevent or remedy discrimination, retaliation and harassment toward Plaintiff on the basis
     18   of her disability and participation in protected conduct in violation of Government Code
     19   § 12940(k).

     20          79.     As a direct result of the wrongfiil conduct of Defendant, Plaintiff suffered,

     21   and continues to suffer, substantial losses in earnings and other benefits in an amount
     22   according to proofat the time trial; including special and general damages.
     23          80.     As a direct, foreseeable, and proximate result of the wrongful conduct of
     24 I I Defendant, Plaintiff has suffered and ,,continues to suffer emotional distress and anguish,
     25   humiliation, substantial losses in salary, bonuses, job benefits, and other employment
     26   benefits which she would have received all to her damage in a sum within the jurisdiction

     27   of the Court to be 'ascertained according to proof.
     28          81.     Plaintiff , is informed and believes and thereon alleges that the outrageous

                                                     COMPLAINT

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       1    conduct of Defendant, and each of them, as alleged herein, was done with oppression and
       2 malice by Plaintiff's supervisors and managers, along with conscious disregard of
       3    Plaintiff s rights, and were ratified by those other individuals who were managing agents
       4    of Defendant.
                                                 ~

       5           82. As a proximate result ol the wrongful conduct of Defendant, and each of
       6    them, Plaintiff hag suffered and continues to suffer humiliation, emotional distress, and
        7   mental and physical pain and anguish according to proof at the time of trial.
        8          83. These unlawful acts weze further encouraged by Defendant and done with a
        9 conscious disregard for Plaintiff's 'rights and with the intent, design, and purpose of
       10   injuring Plaintiff. The conduct of Defendant alleged hereinabove was done with malice,
       11   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
       12   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
~i
~      13          84.      Plaintiff ' has also incurred and continues to incur attorneys' fees and legal
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d
~.
 ~
.~     14   expenses in an amount according to proof at the time of trial.
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m
       15                                  FIFTH CAUSE OF ACTION
~..,                                                                                     ;

 ta    16                     HOSTILE WORK ENVIRONIVIENT HARASSMENT
 5                                               ~
ta
       17                          IN VIOLATION, OF GOV. CODE § 129400)
       18                                     (Against All Defendants)

       19          85.      Plaintiff refers to all allegations contained in paragraphs 1-84, inclusive,
       20   and by such reference incorporates the same herein as though fully realleged in detail.

       21          86. California law, and particularly the Fair Employment and Housing Act

       22 ("FEHA"), codified at Government Oode § 12900 et seq., prohibits harassment against
       23 persons with a physical condition~ or disability, which is broadly defined therein, and
       24 which includes even ,the perception that a person has a medical or mental condition
       25 and/or physica,l condition or disability. FEHA further prohibits discrimination based
       26 upon, inter alia, age, race, gender, sexual orientation, national origin, pregnancy and
       27   other immutable characteristics.
       28          87.      Plaintiff is a disabled woman, as alleged above.
                                                     ~

                                                         COMPLAINT

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                                             ~
     1          88.     Defendant was aware of Plaintiff's disability, as herein alleged, because
    2    Plaintiff specifically reported said ' disability directly to Defendant via Defendant's
     3   supervisors and managing agents.
     4          89.     At all times herein alleged, Plaintiff was qualified for the position of
     5   employment that she held with Defendant and was able to perform the essential functions
     6   of that job.
     7          90.     Plaintiff is informed and believes and thereon alleges that as a direct and
                                                 ~

     8   proximate result of Plaintiff's disability, subjected Plaintiff to hostile comments, foul and
     9   offensive langqage, a~use, intimidation, and humiliation.
    10          91.     Defendant's harassing conduct was severe and pervasive. .
    11          92.     A reasonable employee in Plaintiff's circumstances would have considered
    12   the work environment to be hostile or abusive; and Plaintiff did consider the work
~
~        environment to lie the same.
md 13
~
.o              93.     Defendant's harassing aotion against Plaintiff, as alleged above, constitutes
   14
~
m        unlawful harassment in employment on account of Plaintiff's disability in violation of
t~ 15
~
~
~ 16     FEHA, and particularly Gov't Code § 12940(a).
5
    17          94.     As a direct, foreseeable, and proximate result of Defendant's unlawful
    18   harassment action against Plaintiff, as herein alleged, . Plaintiff has been harmed in that
    19   Plaintiff has suffered the loss of wages, salary, benefits, the potential for advancement,
    20   and additional amounts of money Plaintiff would have received but for Defendants'
    21   discriminatory;conduc't, all in an amount subject to proof at the time of trial, but believed
    22   to be no less than three hundred thousand dollars.
    23          95.     As a direct, foreseeable, and proximate result of the wrongful conduct of
    24   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emqtional
                                             ~
    25   distress and angWsh, humiliation, anxiety, and medical expenses all to her damage -in an
    26   amount subject to proof at trial.
    27          96.     Plaintiff is informed and believes and thereon alleges that the above-alleged

    28   actions of Defendant were the result and consequence of Defendant's failure to supervise,

                                                     COMPLAINT

                                                        16
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     1    control, direct, manage, and counsel, those agents throughout Plaintiff s employment and
     2    that Defendant ratified, condoned and/or encouraged the unlawful harassment behavior
     3    and enabled agents to believe that their conduct was appropriate.
                                              ,
     4          97.    Defendant, and each of them, failed to offer counseling or comfort to
     5    Plaintiff and sent the unmistakable message that such conduct is appropriate in the
     6    workplace.
      7          98.    Plaintiff is informed and believes and thereon alleges that Defendant has a I
      8   systemic and wide-spread policy of harassing against and retaliating against employees
      9   with disabilities. By failing to stop the discrimination, harassment and retaliation,
     10   Defendant ratified the discriminatory, and retaliatory conduct which, in turn, directly
     11   caused a vicious cycle of wrongful conduct with impunity.
     12          99.    Plaintiff is informed and believes and thereon alleges that her disability was
~i
~    13   a motivating factor in the decision of Defendant to harass her and terminate her.
     14          100. The , outrageous conduct of Defendant, and each of them, as alleged herein,
     15   was done with oppression and malice by Defendant and its supervisors and managers,
     16   along with conscious , disregard of Plaintiff's rights, and were ratified by those other
                                1,

~~
     17   individuals who
                        i were fnanaging agents of Defendant.
     18          101. The conduct of Defendant as alleged hereinabove was done with malice,
     19   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.

     20   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                                               ~
     21         102. Plaintiff also continues to incur attorneys' fees and legal expenses in an
     22   amount according,,to proof at the time of trial which fees and expenses are recoverable
     23   pursuant to Gov't Code .§ 12900 et seq.
     24                                 SIXTH CAUSE OF ACTION
     25                NEGLIGENT HIRING, SUPERVISION, OR RETENTION

     26                                 (As Against All Defendants)

     27          103. Plaintiff refers to all' allegations contained in paragraphs 1-102, inclusive,
     28   and by such reference incorporates the same herein as though fully realleged in detail.
                                I;

                                                    COMPLAINT

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                                    ;

        1            104. "Negligence liability will be imposed on an employer if it `knew or should
        2    have known that hiring the employee created a particular risk or hazard and that
        3    particular harm materializes. "' Phillips v. TLC Plumbing, Inc. 2009 172 Cal. App. 4th
        4 1 1133, 1139.
                                                ~
        5'         105. Planzkis, Renner, Ponce, and Plaintiff s coworker(s) were unfit and/or
                                              1
         6   incompetent to perform the work for which they were hired.
         7           106. Defendants knew or should have knowri that the unfitness and/or
         8   incompetence of Planzkis and Plaintiff's coworker(~) created a particular risk to others;
         9           107. The unfitness and/of, incompetence of Planzkis, Renner, Ponce, and
        10   Plaintiff s coworker(s) harmed Plaintiff.
        11           108. Defendant's negligence in hiring, supervising, or retaining Planzkis,
        12   Renner, Ponce, and Plaintiff's coworker(s)was a substantial factor in causing Plaintiff's
    ~
    ~ 13     harm.                  '
                            ~
    d
    ~ 14
    .o               109. As a proximate result of Defendants' negligence in hiring, supervising, or
     mm
    0 15      retaining Planzkis, Renner, Ponce, and Plaintiff's coworker(s), Plaintiff has sustained
    ~
    .~ 16     and continues to sustain substantial losses of earnings and other employment benefits.
    5                                           ~
        17           110. As a proximate result of Defendants' negligence in hiring, supervising, or
        18    retaining Planzkis, Renner, Ponce; and Plaintiff's coworker(s), Plaintiff has suffered and
        19    continues to suffer humiliation, emotional distress, and mental and physical pain and
        20    anguish, all to her damage in a sum according to proof.
        21                               SEVENTH CAUSE OF ACTION
        22                NEG,LI~ENT INFLICTION OF EMOTIONAL DISTRESS
                             .            ~
        23                                  (As Against All Defendants)
        24           111. Plaintiffi refers to all allegations contained in paragraphs 1-112, inclusive,
        25   and by such reference incorporates the same herein as though fully realleged in detail.
        26           112. Defendants owed Plaintiff a duty, because of their preexisting relationship
        27    as employer-employee, to refrain from harassing Plaintiff because of her disability, in
        28    violation of FEHA.
                                                     COMPLAINT

                                                         18
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      1          113. Defendants owed a further duty to Plaintiff to take reasonable steps to take
      2    reasonable actinn, to avoid these wrongful acts and to reasonably deal with them upon
      3    learning of their existence.
      4          114. Defendants' acts and/or ,omissions constituting, authorizing, condoning, and
      5    ratifying harassment as hereinabove alleged toward Plaintiff, and Defendants' failure to
      6    take reasonable steps to avoid these wrongful acts or reasonably deal with them upon
      7    learning of their existence, constituted breaches of their respective duties.
       8         115. As a proximate result of Defendants' extreme and outrageous conduct,
       9   Plaintiff has suffered and continues to suffer severe emotional distress. Plaintiff has
      10   sustained and continues to sustain substantial losses of earnings and other employment
      11   benefits as a result of being emotionally distressed.
      12         116. As a proximate result of Defendants' extreme and outrageous conduct,
~
~  13      Plaintiff has suffered and continues to suffer humiliation, emotional distress, and mental
d                                                h
~ 14
.o         and physical pain,,and anguish, all, to his damage in a sum according to proof.
~m
~ 15             117. The aforementioned acts of Defendants were willful, wanton, malicious,
~
.~ 16      intentional, oppressive, and despicable, and were done in willful and conscious disregard
~r~
      17   of the rights of Plaintiff, and were done by managerial agents and employees of
      18   Defendants, or with the express knowledge, consent, and ratification of managerial
      19   emPloYees of Defendants  ~ and therebY justi
                                                      fYthe awardingofP
                                                                      unitive and exemPlarY
      20   damages in an amount, to be determined at trial.
                                 ~        TT!"TTTT_7 !" A TTOIV /110 A !"TT/1XT
      21                 i                ----'----- ------ -- -------'


      22              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
      23                                        (As Against All Defendants)
      24         118. Plaintiff refers to all allegations contained in paragraphs 1-117, inclusive,
                                             ~
      25   and by such reference incorporates the,same herein as though fully realleged in detail.
      26         119. Duriing Plaintiff's employment, as hereinbefore alleged, Defendants
      27   engaged in intentional and injurious course of conduct which, was in conscious disregard
      28

                                                      COMPLAINT

                                                           19
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      1   of Plaintiff s rights. Defendants' conduct and behavior was extreme and outrageous and
     2    cannot be considered normal personnel actions.
      3          120. Defendants, and each of them, acted intentionally and recklessly by
      4
          discriminating against and harassing Plaintiff because of his work related injury and
      5
          participation in protected activity, and, in doing so, subjected Plaintiff to severe
      6
          emotional distress.
      7
                 121. Defendants acted outrageously with the intent of causing or with reckless
      8
          disregard of the probability of causing severe emotional distress to Plaintiff by acting and
                          ~
      9
          failing to act as alleged herein, for 'instance, but without limitation, harassment and
     10
          discrimination and retaliation in violation of FEHA and Labor Code § 6310 which
     11
          embodies a public policy against retaliatory terminations, or discharge as alleged, and
     12
~
~
          thus falls outside the compensation bargain.
m
     13
~
 ~
.~               122. The~ conduct of Defendants, and each of them, as set forth above, was so
 0
     14
m         extreme and outrageous that it exceeded all boundaries of a decent society. Said conduct
v 15
~
~ 16
~         was intended to cause severe emotional distress, or was done in conscious disregard of
~                                 Ij



  17      the probability of causYng severe emotional distress.

     18          123. As a direct result of Defendants intentional acts, Plaintiff has suffered and
     19   continues to suffer extreme emotional anguish, humiliation, embarrassment, mental
     20   suffering, and tension all to Plaintiff's detriment in a sum within the jurisdiction of this
     21   Court to be ascertained according to proof. Plaintiff has suffered, and continues to suffer,
     22   severe emotional and mental an
                                      ~~ ish     ish~ humiliation, embarrassment, an
                                           ~ anbm~                                 ger,shock,

     23   pain, discomfort, anxiety, and sleeplessness. The exact nature and extent of these injuries
     24   is presently unknown to Plaintiff, who will pray leave of court to assert the same when
     25
          they are ascertained.
     26
                 124. As a, direct, foreseeable,
                                           ~     and proximate result of the conduct of each
     27
          Defendant, Plaintiff lias suffered and continues to suffer substantial losses in salary,
     28

                                                  COMPLAINT

                                                         20
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                                    ii


    1    career losses, bonuses; job benefits, and other employment benefits which he would have
    2    received all to his damages in a sum within the jurisdiction of the Court to be ascertained
    3    according to proof.
    4           125. As a direct result of the outrageous conduct of Defendants, and each of
     5
         them, as alleged herein, Plaintiff is ,entitled to punitive or exemplary damages against said
     6
         Defendants, and each of them, for their acts as alleged herein in an amount to be
     7
         determined at time of trial.
     8
                126. Defendants knew or, in the exercise of reasonable care, should have known
     9
         that the abusive and outrageous conduct would cause, and did cause, Plaintiff inental
    10                     ~
         distress, and was !so , extreme that ~it exceeded all bounds of that usually tolerated in a
    11
         decent and civilized society. As set forth above, Defendants' actions were illegal and in
    12
~
~
         contravention of state laws, codes, regulations, standards, and statutes.
    13
                127. T`he aforementioned acts of Defendants were willful, wanton, malicious,
    14
          intentional, oppressive, and despicable, and were done in willful and conscious disregard
    15
          of the rights of Plaintiff, and were done by managerial agents and employees of
    16
          Defendants, or, with the express knowledge, consent, and ratification of managerial
    17
          employees of Defendants, and thereby justify the awarding of punitive and exemplary
    18
          damages in an amount to be determined at the time of trial.
    19
                                         NINTH CAUSE OF ACTION
    20
                                   SEXUAL HARASSMENT IN VIOLATION OF
    21                                       ,,

                               CALIFORNIA GOVERNMENT CODE §129400)
    22
                               '           (Against All Defendants)
    23
                128. Plaintiff refers to all,, allegations contained in paragraphs 1-127, inclusive
    24
         and by such reference',incorporates the same herein as though fully realleged in detail.
    25
                129. During the course of Plaintiff's employment, Defendants created and
    26
         allowed to exist a hostile environment and discriminated against and harassed Plaintiff on
    27
         the basis of her sex and gender, and participation in protected conduct, in violation of
    28

                                              li
                                                   ~ COMPLAINT

                                                       21
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      1    firmly established California public policy as set forth under Government Code § 12940 I
      2    et seq.              1,
      3              130. Defendant demanded more than professionalism from Plaintiff and other I
      4    employees. Defendant's agents regularly made sexual advances, gestures, comments, and
       5   overtures towards Plaintiff. Plaintiff rebuffed Defendant's advances and made
      6    complaints. The improper conduct did"not abate and Defendant did nothing to prevent or
                                ~
      7    stop such conduct, nor did Defendants discipline Defendant's agents.
       8             131. California public policy is clear that harassment of employees on the basis
       9   of sex/gender is an uhlawful employment practice and requires Defendants to refrain
                            ;
      10   from discrimination or harassment against any employee because of their sex/ gender.
      11             132. The foregoing conduct further violates California public policy which
      12   provides that it is unlawful for an employer to fail to take all reasonable steps necessary
R 13       to prevent harasgment from occurring.
~d
~
.~ 14                133. The foregoing conduct violates California public policy which provides that
 o
taF   15   it is an unlawful practice for any employer or person to retaliate against or otherwise
      16   discriminate against any person because the person has opposed any practices forbidden
      17   by law or because the person has complained or asserted legal rights under the law.
      18             134. The, sexual harassment and retaliation against Plaintiff created an
      19   oppressive, hostile, intimidating a'nd/or offensive work environment for Plaintiff and
      20   interfered with her emotional well-being and ability to perform her duties.
                                     1,



      21   135. The sexual harAssment and retaliation were sufficiently severe and pervasive as to
                         ~
      22   materially alter Plaintiff's conditions of employment, and to create an abusive work
      23   environment.
      24             136. The acts of Defendant alleged above were done maliciously, oppressively,
      25 I and/or fraudulently.
      26             137. Defendants knew, or should have known, that there was an ongoing
      27   problem with Defendant making unwelcome sexual advances to employees, and
      28   specifically Plaintiff, and employed him with conscious disregard of the rights or safety

                                                    COMPLAINT

                                                         22
             Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 24 of 39 Page ID #:205




      1    of Plaintiff and of other employees. ti
      2           138. Once Plaintiff complaindd, Defendants could have implemented significant
      3    remedies, but failed to do so, or chose not to do so. Defendants therefore ratified and
      4    adopted the wrongful conduct.
                                i,
      5           139. As a di'rect and proximate result of the sexual harassment of Plaintiff
                        ~
      6    described above, and the retaliation against him, Plaintiff has suffered and will continue
      7    to suffer embarrassment, humiliation, mental anguish, severe emotional and physical
       8   distress, losses in earnings, bonuses, deferred compensation, employment benefits,
      9    earning capacity, opportunities for'employment advancement, and work experience, all to
      10   her damage, according to proof. ,
      11                                  TENTH CAUSE OF ACTION
  12                                    RETALIATION IN VIOLATION OF
~
~ 13                           CALIFORNIA GOVERNMENT CODE §12940(h)
m
d
~
~
  14                                         (Again"st All Defendants)
0
mm
m     15          140. Plaintiff refers to all'allegations contained in paragraphs 1-139, inclusive,
~
~     16   and by such reference incorporates the same herein as though fully realleged in detail.
~
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                                  1j

u,.               141. At all tiiiies herein mentioned, FEHA, Government Code § 12940(h), was in
      17
                           ~
      18   full force and effect and was binding on Defendant. This statute requires Defendant to
      19   refrain from retaliating against Plaintiff.
      20          142. Plaintiff is informed and believes and thereon alleges that as a consequence
      21   of lodging complaints with Defeiidants about the harassing and discriminatory acts being
      22   committed against Plaintiff, coupled with Plaintiff's disability sustained while on-the job
      23   for which workers compensation coverage was required along with reasonable
      24   accommodation, Defendant took retaliatory action against Plaintiff by failing to conduct a
      25   good faith interactive process aimed at reuniting Plaintiff with her job, failing to
      26   determine the essential functions of Plaintiff's job, mistreat Plaintiff, and deny Plaintiff
      27   advancement and promotion.            +
      28          143. Defendant unlawfully retaliated against Plaintiff after she engaged in
                                   1,




                                                     COMPLAINT

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              Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 25 of 39 Page ID #:206




        1   protected activity after being injured on the job, such as without limitation, filing or
                          ;                                                      '
       2    intending to file for workers' compensation benefits due to safety concerns and
       3    requesting accommodation, and, lodging workplace complaints related to the harassment
       4    and discrimination that she was facing, and other complaints of a hostile and unsafe
        5   working environment.
        6         144. As a proximate result of Defendant's willful, knowing, and intentional
        7   conduct against Plaintiff, she has sustained and continues to sustain substantial losses in
        8   her earnings and other employment benefits and continues to suffer humiliation,'
        9   emotional distress, and mental and physical pain an and anguish, and sleep dysfunction,
       10   all to her damage in a sum according to proof.
       11         145. These unlawful acts were further encouraged by Defendant and done with a
       12   conscious disregard for Plaintiff's' rights and with the intent, design, and purpose of
~
~      13   injuring Plaintiff. In light of Defendant's willful, knowing, and intentional discrimination
       14   against Plaintiff which culminated in her discharge, Plaintiff seeks an award of punitive
       15   and exemplary damages in an amount according to proof.
       16          146. Plaintiff has incurred and continues to incur legal expenses and attorney
ITr~        fees. Plaintiff is presently unawar`e of the precise amount of said expenses and fees and
       17
       18   prays leave of court, to amend this Complaint
                                                   ,
                                                          when said amounts are more fully known.
       19                             ELEVENTH CAUSE OF ACTION
       20                               WRONGFUL TERMINATION
       21                                   (Against All Defendants)
       22          147. Plaintiff refers to all allegations contained in paragraphs 1-146, inclusive
       23   and by such reference incorporates the same herein as though fully realleged in detail.
       24          148. Plaintiff informed Defendants that she suffered from disabilities. Further,
       25   Defendants were awaze of Plaintiff's requests for accommodation and complaints about
       26   her workplace environment. Defendants were also aware that Plaintiff filed a worker's

       27   compensation claim and sought medical treatment pursuant to the same.

       28          149.   LaboN Code §232.5 makes it illegal for an employer to prohibit an

                                                   , COMPLAINT

                                                         24
       Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 26 of 39 Page ID #:207




1    employee from discussing their working conditions.
2           150. Labo,r Code §6310 protects an employee's right to complain of unsafe
3    working conditions.
4           151. Labor Code §6400 requires employers to provide a work environment that
 5   is safe for its employees.
 6          152.   Gov,'t Code    § 12940 et ° seq., prohibits forms of discrimination against
 7   protected classes 6f employees.     ~
 8          M. Defendant wrongfully terminated Plaintiff in violation of a substantial and
 9   fundamental public policy in that a determining and motivating factor in Defendants'
10   decision to terminate Plaintiff was the desire to retaliate against her because: (i) she had
11   a disability and work restrictions, (ii) she requested and required reasonable
     accommodation, (iii) she took medical leave, (iv) she required an interactive process, (v)
     she filed a claim~ for worker's compensation, and (vi) she lodged complaints.
            154. Plaintiff is informed' and believes and thereon alleges that these factors
     made up Defendants decision to terminate Plaintiff and/or played an important and
     integral role in said decision. Such discrimination was in violation of the public policy of
     the State of California and resulted in damage and injury to Plaintiff as alleged herein.
18          M. As a proximate result of Defendants willful, knowing, and intentional

19   discrimination and retaliation against Plaintiff, she has sustained and continues to sustain

20   substantial losses in her earnings and other employment benefits and continues to suffer

21   humiliation, emotional distress, and mental and physical pain an and anguish, and loss of

22   sleep/sleep dysfunction, all to her damage in a sum according to proof.
23          156. In light of Defendants willful, knowing, and intentional discrimination

24   against Plaintiff which resulted in her wrongful termination, Plaintiff seeks an award of

25   punitive and exemplary damages iA an amount according to proof.
                                         ,
26
27
28

                                             COMPLAINT

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              Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 27 of 39 Page ID #:208




       1                                  TWELVTH CAUSE OF ACTION
       2                    FAILURE
                              ,     TO PROVIDE EMPLOYMENT RECORDS
       3                                     (Against All Defendants)
       4           157. Plaintiff refers to all'allegations contained in paragraphs 1-156, inclusive
        5   and by such reference incorporates the same herein as though fully realleged in detail.
        6          158. California Labor Code § 1174, subdivision (c), requires employers doing
        7   business in the State of California to maintain payroll records and to keep these records in
        8   a central location in the State of California.
        9          159. California Labor Code §226, subdivisions (b) and (c), require employers
       10   doing business in the State of California to provide current and former employees access
                                  ~
       11   to their payroll records.
       12          160. California Labor Code §432, subdivision (b), requires employers doing
~i
~      13   business in the State of California to provide current and former employees copies of all
       14   written instruments
                              i
                                they sign upon request.
       15          161. California Labor Code § 1198.5 et seq., provides current and former
       16   employees the right to inspect tlieir employee personnel records that the employer
IPLI   17   maintains relating to sthe employee's performance or to any grievance conceming the
       18   employee.
       19          162. Plaintiff, via counsel, requested Defendants to provide Plaintiff with her
       20   employee personnel file and payroll records, and Defendants did not provide Plaintiff
       21   with inspection ,rights or complete copies of such records, in violation of the above-
       22   described statutes.
       23          163. As a result of Defendants' statutory violations alleged in this Complaint,
       24   Plaintiff suffered damages, in an amount to be determined according to proof at trial,
       25   costs, and attorney's fees.            ~
       26          164. By reason of the foregoing, Plaintiff has been left without an adequate
       27   remedy at law, arid 'should be entitled to appropriate injunctive relief from this Court,

       28   including, but not limited to, an otder by the Court requiring Defendants to tum over

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            Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 28 of 39 Page ID #:209




     1    copies of Plaintiff's employee personnel file and payroll records to Plaintiff or to provide
     2    Plaintiff access to these records as required by law.
     3           165. Plaintiff is entitled to costs and attorney's fees as provided by applicable
     4    law, including, but not limited to, Califomia Labor Code §226 subdivisions (e), (f), and
     5, (h), and § 1198.5 subdivision (1). `
     6           166. Plaintiff is entitled t6
                                             ; penalties
                                                 ,       as provided by applicable law, including,
      7   but not limited to, California Labor Code §§ 226 subdivisions (e) and (f), and § 1198.5
      8   subdivision (k).
      9                            THIIZTEENTH CAUSE OF ACTION
     10                         MEAL AND RE-ST BREAK VIOLATIONS
     11                                    (Against All Defendants)
     12          167. Plaintiff refers to all'allegations contained in paragraphs 1-166, inclusive
J
~    13   and by such reference xncorporates the same herein as though fully realleged in detail.
     14          168. Labor Code §226.7(a) provides in pertinent part that, "No Employer shall
     15   require any employee to work during any meal or rest period mandated by an applicable
     16   order of the Industrial Welfare Commission."
IL   17          169. Labor Code §512 provides in pertinent part that, "An employer may not
     18   employ an employee for a work period of more than five hours per work day without
     19   providing the employee with a meal period of not less than 30 minutes, except that if the
     20   total work period per day of the employee is no more than six hours, the meal period may
     21   be waived by mutual consent of both the employer and employee."
     22          170. Labor Code § 512 further. provides in pertinent part that, "An employer may

     23   not employ an employee for a w,ork period of more than 10 hours per day without
     24   providing the employee with a second meal period of not less than 30 minutes, except
     25   that if the total hours worked is no more than 12 hours, the second meal period may be

     26   waived by mutual consent of the employer and the employee only if the first meal period

     27   was not waived."
     28          171. LaboY Code §516 provides that the industrial Welfare Commission may

                                                  , COMPLAINT

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             Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 29 of 39 Page ID #:210




      1    adopt or amend working condition orders with respect to meal periods for any workers in
      2    California consistent with the health and welfare of those workers.
      3          172. Section 11(A) of the IWC Wage Order(s) provides that "Unless the
      4    employee is relieved of all duty during a 30 minute meal period, the meal period shall be
      5    considered an "on duty" meal period and counted as time worked. An "on duty" meal
      6    period shall be permitted only when the nature of the work prevents an employee from
      7    being relieved of all duty and when by written agreement between the parties an on-the-
       8   job paid meal period is agreed to. ' The written agreement shall state that the employee
       9   may, in writing, revoke the agreement at any time."
      10          173. Section 11(B) of the IWC Wage Order(s) provides that "If an employer
      11   fails to provide an employee a meal period in accordance with the applicable provisions
      12   of this order, the employer shall pay the employee one (1) hour of pay at the employee's
~i
~ 13       regular rate of compensation for each workday that the meal period is not provided."
      14          174. Likewise, the IWC "Wage Order(s) and provisions of the Labor Code
      15   require that an employer relieve an employee of duty for a ten minute break for every
      16   four hours worked.
.
.r,
      17          175. While employed by Defendants, and at all times relevant herein, Plaintiff
      18   consistently worked over five (5) hours per shift and therefore was entitled to an

      19   uninterrupted meal p6riod of not le,ss than thirry (30) minutes prior to exceeding five (5)

      20   hours of employment, and, at least one rest break for every four hours worked.

      21          176. At all times relevant herein, Plaintiff did not waive her meal periods and/or
      22   rest breaks, by mutual consent with Defendants or otherwise.

      23          177. At all times relevant herein, Plaintiff did not enter into any written
      24   agreement with Defendants agreeing to an on-the job paid meal period and/or rest break.

      25          178. Defendants failed to comply with the rest and meal period requirements
      26   established by Labor Code §226.7; Lczbor Code §512, Labor Code §516 and Section 11
      27   of the IWC Wage Order(s).

      28          179. Pursuant to Section 11(B) of the IWC Wage Order(s) and LaboY Code

                                                , COMPLAINT

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     1    §226.7(b), which states in pertinent part that "if an employer fails to provide an employee
     2 a meal or rest period in accordance with an applicable order of the industrial Welfare
     3 Commission, the ~erriployer shall pay the employee one additional hour of pay at the
     4    employee's regular rate of compensation for each work day that the meal or rest period is
     5 not provided," Plaintiff is entitled to damages in an amount equal to one (1) additional
                       ;
     6 hour of pay at Plaintiff's regular rate of compensation for each work day that the meal
      7   period was not provided.
      8          180. Pursuant to Labor Code §218.6 and Civil Code §3287, Plaintiff seeks
      9   recovery of pre judgment interest on all amounts recovered herein.
     10                            FOURTEENTH CAUSE OF ACTION
     11        VIOLATION OF BUSINESS & PROFESSIONS CODE § 172.00 ET SEQ.
     12                                   (Against All Defendants)
~i
~    13          181. Plaintiff refers to all allegations contained in paragraphs 1-180 inclusive,
     14   and by such reference incorporates the ,same herein as though fully realleged in detail.
     15          182. Defendant, and each of them, have engaged in unfair and unlawful
     16   business practices as set forth above.
TH 17            183. Business; & Professions Code § 17200 et seq. prohibits unlawful and unfair
     18   business practices.
     19          184. By engaging in the above-described acts and practices, Defendant, and each
     20   of them, have committed one or more acts of unfair, unlawful or fraudulent competition

     21   within the meaning of Business & Professions Code § 17200 et seq.
     22         185. Defendant, and each, of ' them, have violated statutes and public policies.
                          ,                . ,
     23   Through the conduct alleged in this Complaint, Defendant, and each of them, have acted
     24 contrary to public policies and have engaged in other unlawful and unfair business

     25   practices in violation of Business & P'rofessions Code § 17200 et seq., depriving Plaintiff
                                                  ,

     26   and all interested persons of rights, beAefits, and privileges guaranteed to all employees
     27   under law.
     28          186. As a direct and proximate result of the aforementioned acts and practices,

                                                      COMPLAINT
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                                '               I




      1   Plaintiff has suffered a loss of money and property in the form of wages and benefits that
     2    she would have received as an employee of Defendant, and each of them.
      3          187. Plaintiff seeks an order of this Court awarding restitution, injunctive relief
      4   and all other relief allowed under Business & Professions Code § 17200 et seq., plus
      5   interest and costs.               '
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                                                            COMPLAINT

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             Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 32 of 39 Page ID #:213




     1                                    PRAYER FOR RELIEF
     2     WHEREFORE, Plaintiff prays for judgment as follows:
     3       1. For all actual, consequential, and incidental damages, including but not limited to
     4           loss of earnings and employee benefits, according to proof, but no less than three
      5          hundred thousand dollars;
     6       2. For restitution for unfair comp.etition pursuant to Business & Professions Code
     7           § 17200 et seq'., resulting frqm Defendants' unlawful business acts and practices,
     E:2         according to proof;
      9      3. For an order enjoining Defendants and their agents, servants, and employees, and
     10          all persons acting under, in concert with, or for them, from acting in derogation of
     11          any rights or duties alleged in this Complaint;
  12         4. For pre judgment and post judgment interest, according to proof;
~
~ 13         5. For punitive and exemplary, damages, according to proof;
md
~0 14        6. For attomeys' fees, according to proof and statute;
~
~ 15         7. For costs of suit incurred herein;
~
~ 16         8. For such other relief and the Court may deem just and proper.
~
~ 17
     18    Dated: Apri13, 2020                   „ SMAILI & ASSOCIATES, P.C.
     19
     20                                               By:    /s/lihad9V. SmaiCi
     21                                                     Jihad M. Smaili, Esq.
                                                            Attorneys for Plaintiff
     22
     23
     24
     25                                      ~

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     27
     28

                                                     COMPLAINT

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              Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 33 of 39 Page ID #:214




       1                                 DEMAND FOR JURY TRIAL
       2          Plaintiff hereby requests a trial by jury.
       3                      '                 i
            Dated: Apri13, 2020                        SMAILI & ASSOCIATES, P.C.
       4
                                  ,
        5                         i



       6
                                                       By:     /s/lihad914. Smaili
                                                             Jihad M. Smaili, Esq.
       7                                                     Attorneys for Plaintiff
        8

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                                                     COMPLAINT
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            Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 34 of 39 FORCOURTUSEONLY
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address): Page ID #:215
 Jihad M. Smaili, Esq. [SBN: 2622'I9]
 SMAILI & ASSOCIATES, P.C.
 600 W. Santa Ana Blvd., Ste 202, Santa Ana, CA 027Q1
         TELEPHONE NO.: (714) 547-4700                       FAX NO. (Optional): (714) 547-4710
                                                                                                                                                  LD
                                                                                                                  COUN~
                                                                                                                      SU ~R~R~OUFi,-
    ATTORNEY FOR (Name): JENNIFER BELTRAN,,
                                                                                                                   SAN "~R ARDNInISnERNARpINO
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO                                                                                                   `tICT
  STREET ADDRESS:247 West 3rd Sl.                                                                                         M `~1`, Y 2 9 2020
 MAILING ADDRESS:
 CITY AND ZIP CODE:, San Bernardino 92415                                                                   t3Y            r
     BRANCH NAME: San Bemardino JusGce Center
                                                                                                                  ARLI;(yE                   ~~~
                                                                                                                                              1
                                                                                                                               CU RDqp~ tJEf,yTy
 CASE NAME:
 JENNIFER BELTRAN v. MEDICAL DEPOT, INC. d/b/a DRIVE MEDICAL DESIGN & MANUFACTURING, et al.
                                                       r
   CIVIL CASE COVEk SHEET               Complex Case Designation             CASE NUMBER:

 Ox Unlimited        Limited               Counter                Joinder
    (Amount          (Amount
                                    Filed with f rst appearance by defendant
    demanded         demanded is
                                        (Cal. Rules of Court, rule 3.402)     DEPT.:
    exceeds $25,000) $25,000)
                      ltems 9-6 below must be completed (see instructions on page 2).
     Check one box beiow for the case type that best describes this case:
    Auto Tort                                  Contract                                                  Provisionatly Complex Civil Litigation
    ~ Auto (22)                                       dreach of contract/warranty (06)                   (Cal. Rules of Court, rutes 3.400-3.403)
    ~ Uninsured motorist (46)                  0 Rule,.3.740 collections (09)                            0 Antitrust/Trade reguiation (03)
     Other PIIPDIWD (Personal InjurylProperty             0 Other collections (09)                       ~ Construction defect (10)
     Damage/Wrongful Death) Tori                                                                         ~ Mass tort (40)
                                                          [~ Ilnsurance coverage (18)
    0 Asbestos (04)                                                                                      ~ Securities litigation (28)
                                                          0 Other contract (37)
    ~ Product liability (24)                                                                             ~ Environmental/Toxic tort (30)
                                                          Real Propertv
    = Medical malpractice (45)                                                                           0 Insurance coverage ciaims arising from the
                                                  0 Eminent domain/Inverse
                                                                                                               above listed provisionally complex case
    = Other PI/PD/WD (23)                              condemnation (14)
                                                                                                               types (41)
    Non-PI/PDIWD (Other) Tdrt                     0 Wrongful eviction (33)                               Enforcement of Judgment
    ~ Business tort/unfair business practice (07) ~ Other real property (26)                             = Enforcement of judgment (20)
    [] Civil rights (08)                          Unlawful Detainer
                                                                                                         Miscellaneous Civil Complaint
    ~ Defamalion (13)                             ~ Commercial (31)
                                                                                                         0 RICO (27)
    ~ Fraud (16)                                          ~ Residential (32)
                                                                                                         0 Other complaint (not specified above) (42)
    ~ Intellectual property (19)                          0 Drugs (38)
                                                                                                         Miscellaneous Civil Petition
    0 Professional negiigen(;e (25)                       Jud.icial Review
                                                         0 Asset forfeiture (05)                         ~ Partnership and corporate gbvernance (21)
    ~ Other non-PI/PD/WD tort (35)
    Employment                                                 Petition re: arbitration award (11)       ~ Other petition (not specified above) (43)
    F_X7 Wrongful termination (36)                       0' Writ bf mandate (02)
    = Other employment (15)                              []Otherjudicial review (39)

2. This case 0 is           0 is not       complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.        Large number of witnesses
   b. 0 Extensive motion practice raising difficult & novel e.              Coordination with retated actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c.        Substantial amourtit of documentary evidence                   court
                                                                  f. 0 Substantial postjudgment judicial supervision
3. Remedies sought (check a11 that apply): a. ~x monetary b. = nonmonetary; declaratory or injunctive relief c. ® punitive
4. Number of causes of action (specify): 14            1
5. This case = is           F—x—] is not   a class action suit.
                                                                                                                    ~y       r,== f,,, \;~
6. If there are any known related cases, fiie and serve a notice of related case. (You may use form CM-015.) __I ':i           _~ 1/~    ~
                                                                                                                                                                       )~
Date: APRIL 3, 2020                                                                                                                   ~ II              ki '        `~ J! ':
Jihad M. Smaili, Esq.                                                                                ~         /s/-W(ad ryl. Smaili

 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
   If this case is complex untler rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.            ,,    '
 • Unless this is a collections case under rute 3.740 or a complex case, this cover sheet will be used for statistical purposes onty.
                                                                                                                                                                 Pape 1 of 2

FormAdooledtorMandaloryUse                                                                                        Cal.RulesofCourt,rules2.30,3.220,3,4ou-:i.4D:t,s.rNu;
                                                ,           (`1\/II   r`ect= ~nv FFa SHEET                                 _ c~.-~~-..~...,r ~...IL.tel e.lMinrelrolinn elel $17n
                Case 5:20-cv-01732  Document
                          INSTRUCTIONS ON HOW8-2  Filed 08/26/20
                                              TO COMPLETE        Page SHEET
                                                            THE COVER 35 of 39 Page ID #:216                                             CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your flrst paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be flled only with your initial paper. Failure to file, a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3':220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal prqperty, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a Qlaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintifPs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                             Contract CASE TYPES AND EXAMPLES
 Auto To rt                                ;                                                       Provisionally Complex Civil Litigation (Cal.
                                                    Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
    Auto (22~Personal Injury/Property
                                                       Breach of Rental/Lease                           AntitrustfTrade Regulation (03)
          Damage/Wrongful Death
                                                           Contract (nof unlawful detainer              Construction Defect (10)
       Uninsured Motorist (46) (if the
                                                                or wrongful eviction)                   Claims Involving Mass Tort (40)
        case involves an uninsured
                                                       Con tract/Warranty Breach—Seller                 Securities Litigation (28)
       motorist claim subject to
                                                            Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
       arbitration, check this item
                                                       Negligent Breach of Contract/                    Insurance Coverage Claims
       instead ofAuto)
                                                           Wananty                                            (arising from provisionally complex
 Other PIIPDIWD (Personal Injury/
                                                       Other Breach of Contract/Warranty                      case type listed above) (41)
  Property Damage/Wrongful Death)
                                                    Cllcti
                                                     oeons (e.g., money owe,d open                 Enforcement of Judgment
 Tort
                                                       book accounts) (09)                            Enforcement of Judgment (20)
      Asbestos (04)
                                                       Collection Case—Seller Plaintiff                   Abst       f Judgment (Out of
         Asbestos Prope rty Damage
                                                       Other PromissoryNote/Collections                        County)
         Asbestos Personal Inju ry/
                                                             Case                                     Confession of Judgment (non-
              Wrongful Death
                                                    Insurance Coverage (not provisionally                  domestic relations)
      Product Liability (not asbestos or
                                                        complex) (18)                                 Sister State Judgment
         toxic%nvironmental) (24)
                                                        Auto Subrogation                              Administrative Agency Award
      Medical Malpractice (45)
                                                        Other Coverage                                    (not unpaid faxes)
          Medical Malpractice—
                                                    Other Cont ract (37)                               Petition/Certification of Entry of
               Physicians & Surgeons
                                                        Contractual Fraud                                  Judgment on Unpaid Taxes
      Other Professional Health Care
                                                        Other, Contract Dispute                       Other Enforcement of Judgment
             Malpractice
                                                 Real Property                                               Case
      Other PI/PDIWD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                                                        Condemnation (14)                              RICO (27)
               and fall)
                                                    Wrongf ul Eviction (33)                            Other Complaint (not specified
          Intentional Bodily Inju ry/PDM/D
                                                    Other Real Property (e.g., quiet title) (26)            above) (42)
                (e.g., assault, vandalism)
                                                        Writ of Possession of Real Property                 Declaratory Relief Only
          Intentional Infliction of
                                                        Mortgage Foreclosure                                Injunctive Relief Only (non-
               Emotional Distress
                                                        Quiet Title                                              harassment)
          Negligent Infliction of
                                                        Other Real Property (not eminent                    Mechanics Lien
                Emotional Distress
                                    I                   domain, landlord/tenant, or                         Other Commercial Complaint
          Other PI/PDNVD
                                                        foreclosure)                                             Case (non-tort/non-complex)
  Non-PI/PD1WD (Other) Tort
                                                 Unlawful Detainer                                          Other Civil Complaint
      Business TorUUnfair Business
                                                    Commercial (31)                                              (non-tort/non-complex)
          Practice (07)
                                                    Residential (32)                               Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination,
                                                    Drugs (38) (if the case involves illegal           Partnership and Corporate
           false arrest) (not civil
                                                    drugs, check this item; otherwise,                     Governance (21)
           harassment) (08)
                                                    report as Commercial or Residential)               Other Petition (not specified
      Defamation (e.g., slander, libel)
                                                 Judicial Review                                           above) (43)
            (13)
                                                    Asset Forfeiture (05)                                  Civil Harassment
      Fraud (16)
                                                    Petition Re:~Arbitration Award (11)                    Workplace Violence
      Intellectual Property (19)
                                                    Wri t of Mandate (02)                                  Elder/Dependent Adult
      Professional Negligence (25) ,
                                                         W~it—Adtninistrative Mandamus                          Abuse
          Legal Malpractice
                                                         Writ—Mandamus on Limited Court                    Election Contest
          Other Professional Malpractice
                                                            Case Matter                                    Petition for Name Change
              (not medical or legal)
                                                         Writ—Other Limited Court Case                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)
                                                             Review                                             Claim
  Employment
                                                    Other Judieial Review (39)                             Other Civil Petition
      Wrongful Termination (36)
                                                         Review of Health Officer Order
      Other Employment (15)
                                                         Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010 [Rev. July 1, 20071
                                                         CIVIL CASE COVER SHEET                                                           Page 2 of 2
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                                            BY FAX08/26/20 Page 36 of 39 Page ID #:217

                      SUPERIOR COURT O,F CAL.!FORNIA, COUNTY OF SAN BERNARDINO


   JENNIFER BELTRAN                                                         Case     C~d!:V DS 2 01 15 8 i
                           vs.                                              CERTIFICATE OF ASSIGNIVIENT
                                                      ~
MEDICAL DEPOT, INC. d/b/a DRIVE MEDICAL DESIGN & MANUFACTURING, et al.

  A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground
  is the residence of a;party, name and residence shall be stated.
  The undersigned declares that the above-entitled matter is filed for proceedings in the
  Civil Division of the San Bernardino District of the Superior Court under Ru1e131 and General Order
  of this courtfor the checked reason:
          ❑ General                      ❑ Collection
                  Nature of AGtion           Ground
 ❑          1. Adoption                     Petitioner resides within the district
 ❑          2. Conservator                  Petitioner or conservatee resides within the district.
 ❑          3. Contract                     Performance in the district is expressly provided for.
 ❑          4. Equity                       The cause of action arose within the district.
 ❑          5. Eminent Domain               The property is located within the district.
 ❑          6. Family Law                   Plaintiff, defendant, petitioner or respondent resides within the district.
 ❑          7. Guardianship                 Petitioner',or ward resides within the district or has property within the district.
 ❑          8. Harassment                   Plaintiff, defendant, petitioner or respondent resides within the district.
 ❑          9. Mandate                      The defendant functions wholly within the district.
 ❑          10.Name Change                  The petitioner resides within the district.
 ❑          11.Personal Injury              TFie injury occurred within the district.
 ❑          12. Personal Property           The property is located within the district.
 ❑          13. Probate                     Decedent resided or resides within or had property within the district.
            14. Prohibition                 The defendant functions wholly within the district.
 ❑          15. Review                      The defendant functions wholly within the district.
 ❑          16. Title to Real Property      The property is located within the district.
 ❑          17. Transferred Action          The lower court is located within the district.
 ❑          18. Unlawful Detainer           The property is located within the district.
 ❑          19. Domestic Violence           The petitioner, defendant, plaintiff or respondent resides within the district.
 2          20.   Other Labor/Employment    The cause of action arose within the district.
 ❑          21. THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT
  The address of the accid,ent, perFormance, party, detention, place of business, or other factor which qualifies this
  case for filing in the above-designed district is:

Devilbiss Healthcare, LLC- Place of business                                                    548 W Merrill Avenue
     NAME —INDICATE TITLE OR OTHERQUALIFYING FACTOR                                             ADDRESS


Rialto                                                            CA                                            92376
     CITY                                                                   STATE                                     ZIP CODE

  I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was
  executed on April 3, 2020              at 600 W. Santa Ana Blvd., Ste 202, Santa Ana, CA 92701
  California.

                                                                                    /s/_7i(ad'.r)Vf. SmaiC:
                                                                                                Srgnature of Attomey/Party


Form # 13-16503-360                                   CERTIFICATE OF ASSIGNMENT                                    Rev. June 2019
Mandatory Use
                            ~

                                                                                                                                    ~ `,~.
     Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 37 of 39 Page ID #:218
             SUPERIOR COURT OF,CALIFORNIA, COUNTY OF SAN BERNARDINO



San Bernardino District - Civil
247 West Third Street

San Bernardino, CA. 924150210
-----------------------------------------------------------------------
----------------------------------------------------------------------
                          ,            CASE NO: CIVDS2011581
  SMAILI & ASSOCIATES PC
  600 WEST SANTA ANA BLVD ,
  SUITE 202
  SANTA ANA CA 92701
                            NOTICE OF TRIAL SETTING CONFERENCE

IN RE: BELTRAN -V- MEDICAL DEPOT, etal
                                  ,,


THIS CASE HAS BEEN ASSIGNED TO: WILFRED J SCHNEIDER JR. IN DEPARTMENT S32
FOR ALL PURPOS,ES,.

Notice is hereby given that the above-entitled case has been set for
Trial Setting Conference at the court located at 247 WEST THIRD STREET
SAN BERNARDINO, CA 92415-0210.

           HEARING DATE: 11/30/20 at 9:00 in Dept. S32

The Trial Setting Conference will be held in chambers without the
appearance of the parties -except for good cause shown. (see Emerggency
Local Rule 411.1).

Parties shall file and se.rve no later than 15 days prior to the trial
setting conf6rence the mandatory Initial Trial Setting Conference
Statement form (local for #13-09001-360) included with this notice.
Prior to the date of the initial triallsetting conference, the court
may entertain a written stipulation by all appearing parties to con-
tinue the initial trial setting conference if filed at least 30 days
prior to the conference.

DATE: 06/27/20 Nancy Eberhardt, Court Executive Officer
                                                   By: ARLENE GUAR.DADO
-----------------------------•------------------------------------------
                              -----------------------------------------
                  CERTIFICATE OF SERVICE

I am a Deputy Clerk of the Superior Court for the County of San
Bernardino at the;above listed address. I am not a party to this
act' n and on the, date and place shown below, I served a copy of the
ab     e listec~ notice :
  ) Enclosed in a sealed envelope mailed to the interested party
addressed above, for collection and mailing this date, following
standard Court practices.
() Enclosed in a sealed envelope, first class postage prepaid in the
U.S. mail at the location shown above, mailed to the interested party
and addressed as shown above, or as shown on the attached listing.
() A copy of this notice was given to the filing party at the counter
() A copy of this notice was placed in the bin located at this office
  Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 38 of 39 Page ID #:219
            I



and identified as the location for the above law firm's collection of
file stamped documents.
Date of Mailing: 06/27/20
I declare under penalty of perjury that the foregoing is true and
correct. Executed on 06/27/20, at San Bernardino, CA
                                           BY: ARLENE GUARDADO



civ-ntsc-20130417
              Case 5:20-cv-01732 Document 8-2 Filed 08/26/20 Page 39 of 39 Page ID #:220



    NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUTATTORNEY:                        l STATE BAR NUIdBER                I            Reaerved fa, Clerk's File5lemp




    TELEPHONE NO.:                   I
    E-MAIL ADDRESS:                                    TRIAL SETTING CONFERENCE DATE:
    ATTORNEY FOR (Name):                               UNLIMITED CASE: 8
    FAX NO. (Optional):                                LIMITED CASE:

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

             F:


                                                                                                                     I°"sE"""'BtR:                                 I
I                 INITIAL TRIAL SETTING CONFERENCE STATEMENT

INSTRUCTIONS: AII applicable boxes must be checked, and the specified Information must be provided.

      1.    Party or narties (answer one):
            a. 8 This statement is submitted by party (nanfe):
            b.         This statement is submitted jointly by parties (names):
                                                11

      2.    Service of Complaint on all part)es has ❑ has not 7 been compieted.

      3.    Service of Cross-Complaint on all parties has Q has not ❑ been compieted.

      4.    Description of case in Complaint:


      5.    Description of case in Cross-Complaint:
                                                    ,
                                i
      6. Has all discovery been completed: Yes ❑ No ❑ Date discovery anticipated to be completed:

      7. Do you agree to mediation?, Yes ❑                   No ❑ Please oheck type agreed to: Private: ❑ Court-sponsored: ~

      8. Related cases, consolidation, and coordination: Please a(tach a Noticer of Relaled Case.

               ~ A motion to F—I consofidate 0coordinate will be fifed by (name of party):

      9. Trial,dates requested: Yes ❑ No F—I Available dates:                                                Time estimate:
                                                                          ,
      10. Other issues:
              The following additional matters are requested to be considered by the.Court:

      11. Meet and Confer:                                   I
           ❑     The parties represent that they have met and conferred on all subjects required by California Rules of Court, Rule 3.724.

              ❑       The parties have entered lnto the following stipufation(s):

       12. Total number of pages attached (i1`any):

            I am completeiy familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution, as well as
            other issues raised by this statement, and will possess the authority to enter into stipufations on these issues at the time of the Initial Trial Setting
            Conference, including the written authority of the party where required.
            Date:


                        (TYPE OR PRINT NAME)                          ~                           (SIGNATURE OF PARTY OR ATTORNEY
                                   i


                        (TYPE OR PRINT NAME)                                  ,                   (SIGNATURE OF PARTY OR ATTORNEY


                                            I

           Fomi #: 13-09001-360
           Mandatory Fomi                        INITIAL TRIAL SETTING CONFERENCE STATEMENT
